      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 1 of 13 PageID #: 2823




                         IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

 THE CHIROPRACTIC NEUROLOGY CENTER OF
 TUPELO; CHIROPRACTIC NEUROLOGY
 CONSULTANT PC d/b/a AMERICAN FUNCTIONAL NEUROLOGY
 INSTITUTE; DR. WILLIAM A. BARLOW, D.C. ;
 and DR. MATTHEW C. MACKEY, D.C.                                                               PLAINTIFFS

 V.                                                                  ACTION NO. 1:15 CV 219-GHD-DAS

 DR. MICHAEL JOHNSON, D.C. ; DR. MICHAEL JOHNSON
 d/b/a THE CENTER FOR QUALITY HEALTHCARE;
 DR. MICHAEL JOHNSON d/b/a JOHNSON METHOD
 CONSULTING; JOHN DOE ENTITIES 1-10;
 and JOHN DOES 1-10                                                                          DEFENDANTS



             OPINION OF TED R. SCOTT, VERITY DIGITAL FORENSICS
                                             JANUARY 16, 2017



                                                            authorization copied messages that were stored on
Opinion                                                     Dr. Barlow’s private secure Neuro Metabolic Group
                                                            forum;
Ted R. Scott, CCE:
                                                         • Dr. Johnson published to the general public these
Plaintiff Dr. William A. Barlow, D.C. (“Dr. Barlow”)       copies of messages on a public website and a public
sued defendant Dr. Michael Johnson D.C. (Dr.               Facebook page, but in doing so published them out
Johnson”). In his complaint, Dr. Barlow alleges, among     of context and edited them to mislead current and
other things, that:                                        prospective patients, the general public and to
                                                           damage Dr. Barlow’s business and reputation.
• in November 2015, Dr. Johnson engaged in a smear
  campaign by creating a publicly accessible website     I was retained by counsel for Dr. Barlow to assess the
  containing “misleading statements, falsehoods, and     Neuro Metabolic Group forum in the context of the
  defamatory comments about Dr. Barlow”;                 Stored Communications Act (SCA), passed as part of the
                                                         Electronic Communications Privacy Act of 1986 and
• as part of this campaign, Dr. Johnson accessed         codified at Sections 2701-11 of Title 18 of the United
  without authorization the Neuro Metabolic Group        States Code, and corresponding court opinions rendered
  forum, which is a private secure “message board”       in Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d
  owned by Dr. Barlow, which is an online electronic     965 (C.D. Cal. 2010), and Ehling v. Monmouth-Ocean
  communications service (“ECS”);                        Hosp. Serv. Corp., 961 F. Supp. 2d 659 (D.N.J. 2013),
                                                         for the purpose of comparing the technologies described
• the Neuro Metabolic Group forum is secured by
                                                         in those opinions with the technology present in Dr.
  passwords;
                                                         Barlow’s Neuro Metabolic Group forum.
• Dr. Johnson, without Dr. Barlow’s knowledge or
                                                         Based upon my understanding of those court opinions

                                      Exhibit “AD”
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 2 of 13 PageID #: 2824
                                                                                                       Page 2 of 13
                               Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

and upon other things, I have reached several expert            messages and non-public message board postings
opinions. The other things I have relied upon include:          are in electronic storage;

• over twenty-five years of professional experience in       • Electronic communications are stored by the Neuro
  the field of information technology, including ten           Met Group forum for backup purposes;
  years in the digital forensics domain;
                                                             • Neuro Met Group message board posting are not
• personal familiarity with and use of electronic              public since a valid username and password are
  bulletin board systems (BBS) and message boards,             required for members to access the content; and,
  beginning in the late 1980’s through their evolution
  into their present-day incarnations as PHP and             • The private messages and non-public message board
  Facebook;                                                    postings are covered by the Stored Communications
                                                               Act.
• direct access and administrative-level membership
  to Dr. Barlow’s Neuro Metabolic Group forum for           FACTS
  the purpose of conducting my analysis;
                                                            The following facts have been garnered from the second
• the second amended complaint in the matter of Dr.         amended complaint in the matter of Barlow v. Johnson,
  William A. Barlow, D.C. v. Dr. Michael Johnson,           Civil Action No. 1:15 CV 219-GHD-DAS, in the United
  D.C., Case No. 1:15 CV 219-GHD-DAS, in the                States District Court for the Northern District of
  United States District Court for the Northern             Mississippi; information provided by Dr. and Mrs.
  District of Mississippi;                                  Barlow; and background information provided by
                                                            counsel for the plaintiff. Dr. William A. Barlow, a
• the transcript of the deposition of Dr. Johnson taken
                                                            Doctor of Chiropractic, jointly owns The Chiropractic
  in Johnson Chiropractic Neurology v. Chris Steiner,
                                                            Neurology Center of Tupelo (Mississippi) with co-
  Case No.· 16-SC-170, in the Circuit Court of Brown
                                                            plaintiff Dr. Matthew Mackey. Dr. Barlow and Mrs.
  County, Wisconsin; and,
                                                            Barlow also own and operate a consulting business, the
• the assistance of Dr. Barlow’s legal counsel in           American Functional Neurological Institute (AFNI).
  interpreting the courts’ legal opinions in Crispin v.     Through AFNI, Dr. Barlow hosts the Neuro Metabolic
  Christian Audigier, Inc., 717 F. Supp. 2d 965 (C.D.       Group, an online forum which allows members
  Cal. 2010), and Ehling v. Monmouth-Ocean Hosp.            (chiropractors) to exchange ideas, to share patient
  Serv. Corp., 961 F. Supp. 2d 659 (D.N.J. 2013).           treatment protocols, and to discuss marketing and
                                                            financial.
In addition, my opinion is informed by content found on
several websites that I cite in my report, all of which I   I have been informed that the forum was designed so
and other experts in my field would reasonably rely on      that these matters could be discussed in a private and
in forming an opinion on the matters upon which I am        secure setting. I have confirmed for myself that Dr.
opining.                                                    Barlow’s Neuro Metabolic Group forum is secured with
                                                            password authentication and caters to a special interest
  The EXHIBIT-RELEVANT SCREENSHOTS                          group storing information not available to the general
beginning on page 9 of this opinion provide more            public. I verified this by following the same steps a new
legible copies of the embedded imagery used herein.         doctor would follow to obtain credentials to access the
                                                            forum as described in detail on page 5. I found that
Based on these things I am of the opinion that:
                                                            without proper credentials, in the form of a username
• The Neuro Met Group forum meets the criteria of an        and password, the forum’s contents are inaccessible.
  electronic communications service (ECS), providing
                                                            Figure 1 below depicts the initial login screen for the
  users with the ability to send and receive electronic
                                                            Neuro Met Group forum. The user must enter a valid
  communications;
                                                            username and password to proceed into the forum.
• Electronic communications in the form of private
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 3 of 13 PageID #: 2825
                                                                                                        Page 3 of 13
                               Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

Figure 1 – Neuro Metabolic Group Login Screen               Administrators of phpBB forums may setup new users
                                                            with their username and password, monitor the
                                                            discussions to ensure they adhere to any forum
                                                            guidelines and perform other routine maintenance of the
                                                            forum. Administrators, and those to whom they delegate
                                                            administrative authority, have direct access to the stored
                                                            username and passwords for their respective users.
                                                            Accordingly, as administrators of their respective
                                                            forums, Doctors Barlow and Johnson would have direct
                                                            access to the stored username and passwords for their
                                                            respective users.

                                                            In Johnson Chiropractic Neurology v. Chris Steiner, Dr.
                                                            Johnson testified that he used the passwords of certain
I am also informed that Dr. Michael Johnson is also a
                                                            users from the forum he administers to intentionally
Doctor of Chiropractic and practices in Appleton,           circumvent the security of Dr. Barlow’s forum to access
Wisconsin where he operates his own competing online        private material that Dr. Johnson then posted on
forum, the Neuro-Metabolic SUPER GROUP. Figure 2            Facebook and a publicly accessible website.
below depicts the initial login screen for the Neuro
Metabolic SUPER GROUP which is similar in layout to         Retrospective: Bulletin Boards
Dr. Barlow’s, due in large part to both forums using the
                                                            A basic understanding of online forums is essential to
phpBB software described on page 5. As with Dr.
                                                            understanding the issues in this case. At its essence, an
Barlow’s forum, Dr. Johnson’s login screen is publicly
                                                            online forum is like the common bulletin boards shown
accessible but to access the content a user must have a
                                                            in the Figure 3 below and often found in public
valid username and password. I am not a user of Dr.
                                                            restaurants and on college campuses or privately
Johnson’s forum and correspondingly have no access to
                                                            secured behind locked or restricted access areas in
his content. The screenshot in Figure 2 is provided
                                                            hospitals and federal buildings.
simply to show that both parties to this cause have
private forums.                                             Figure 3 – Common Bulletin Board

Figure 2 - Neuro Metabolic SUPER GROUP Login Screen




The competing forums both cater to chiropractors and,
as was found in this case, shared some of the same          In either instance, people who have access to the
member doctors.                                             bulletin board may look at what has been posted to see
                                                            what interests them and if they wish to contribute
Both forums are built using phpBB software, a popular       something may use a pin or stapler and post it on the
tool for creating, hosting and administrating online        board.
forums and discussion boards.
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 4 of 13 PageID #: 2826
                                                                                                              Page 4 of 13
                                Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

Prior to the advent and widespread use of the Internet,      phpBB Bulletin Board Software
electronic bulletin board systems (BBS) were in vogue;
this remained true through the mid-1990s.1 Created in        The software underlying the online forums administered
1978 as the first online adaptation of the traditional       separately by Drs. Barlow and Johnson is called
bulletin board, the BBS software allowed users to            “phpBB.” A closer comparison of the page footers of
exchange data or private messages and post messages on       the two competing forums depicted on the preceding
public message boards. This is the type of bulletin board    page shows that they both are built on phpBB as shown
                                                             in Figure 5:
that is discussed in Ehling v. Monmouth-Ocean Hospital
Service Corp., and in the several cases it cites, when the   Figure 5 – Forum Page Footer
court refers to “electronic bulletin board systems” and
‘BBS's. 961 F. Supp. 2d at 666.

The screen depicted in Figure 4 is an example of an          phpBB is considered to be “[t]he #1 Free, Open Source
early bulletin board system with a basic menu and            Bulletin Board Software.”2 In this context, “open
rudimentary graphics.                                        source” simply means that the original source code for
                                                             phpBB (the software programs) are made freely
 Figure 4 – Example of Early Bulletin Board System           available and can be modified and redistributed.
(BBS)
                                                             Though Dr. Barlow and Dr. Johnson both use phpBB,
                                                             there are dozens of forum options (modern bulletin
                                                             board systems)3 available.
                                                             The contents of the forum, including private messages
                                                             and non-public message board postings, are stored in a
                                                             “database” that is simply a collection of information
                                                             stored electronically and organized for quick retrieval
                                                             and accessibility. phpBB requires4 that a database be
                                                             installed to function properly. Facebook operates in
                                                             much the same way and relies heavily on database
                                                             technology to store and quickly retrieve the vast
Today’s online forums, also commonly referred to as          amounts of its users’ content. The earliest electronic
“message boards,” are similar to BBSes but leverage the      bulletin board systems also stored user posts albeit in
scale and accessibility of the Internet to dwarf the older   more basic ways.
technology. Forum software was first developed in 1994
and has grown rapidly with the public’s adoption of the      1
                                                              http://www.makeuseof.com/tag/how-we-talk-online-a-history-of-
Internet. Online forums may be open to the public or
                                                             online-forums-from-cavemen-days-to-the-present/
they may be privately administered for the exclusive use     2
                                                                 https://www.phpbb.com/
of special interest groups such as the online forums
                                                             3
managed separately by Doctors Barlow and Johnson                 http://www.forummatrix.org/
that cater exclusively to chiropractors.                     4
                                                              https://www.phpbb.com/support/docs/en/3.1/ug/quickstart/requirem
                                                             ents
As illustrated above, the term “electronic bulletin board
system” is found in case law and has been used               Neuro Metabolic Group Forum Membership
synonymously when describing the online forums in use
today.                                                       A new doctor seeking membership to Dr. Barlow’s
                                                             Neuro Metabolic Group forum is provided with the
                                                             Uniform Resource Locator (URL), more commonly
                                                             referred to as a web address, to access the forum. This
                                                             address is: http://neurometgroup.com/. Upon accessing
                                                             the web address, the home page of the forum is
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 5 of 13 PageID #: 2827
                                                                                                        Page 5 of 13
                                Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

displayed and the new doctor will select the option to       (C.D. Cal. 2010), and Ehling v. Monmouth-Ocean Hosp.
register for membership.                                     Serv. Corp., 961 F. Supp. 2d 659 (D.N.J. 2013). Each
                                                             case involved interpretations of the Stored
The doctor is then required to agree to the legal terms      Communications Act (SCA), passed as part of the
and conditions of the forum’s registration agreement for     Electronic Communications Privacy Act of 1986 and
membership. In part, the registration agreement notifies     codified at 18 U.S.C. §§ 2701-11. The opinions in these
the doctor that “the IP address of all posts are recorded”   cases correlate directly with the items at issue in this
and “any information you have entered is stored in a         matter.
database.” Further explanation of the significance of
these notices is presented in a forthcoming section.         In the two subsections that follow, I have relied upon
                                                             the analysis of attorney Kenneth Coghlan’s explanation
Upon agreeing to the terms for membership, the doctor        of the court’s interpretation of the SCA and the relevant
provides a username, valid email address and a               opinions, providing my insight into the technical matters
password as depicted in Figure 6.                            discussed in them. I have relied, though, on his
                                                             explanation of the law to formulate my opinions on how
Figure 6 – New User Creation- Username & Password
                                                             the technology described in the opinions resembles the
                                                             technology of the phpBB bulletin board that Dr. Barlow
                                                             used. The opinions provided below—comparing the
                                                             technologies described in the cases and phpBB—are
                                                             mine.

                                                                         Crispin v. Christian Audigier Inc.
                                                             Kenneth Coghlan’s Legal Analysis
                                                             In Crispin v. Christian Audigier. Inc., the court was
                                                             called upon to determine the extent to which the SCA
Upon confirming the password, the doctor is required to
                                                             applied to webmail provider Media Temple, Inc. and to
enter a confirmation code (Figure 7) which is used to
                                                             two social-networking sites: Facebook and MySpace.
prevent automated registrations to the forum.
                                                             717 F. Supp. 2d 965 (C.D. Cal. 2010). It reached several
Figure 7 – Example Confirmation Code                         conclusions.

                                                              • Both MySpace and Facebook provide private
                                                                messaging systems for users and “those forms of
                                                                communications media are inherently private such
                                                                that stored messages are not readily accessible to the
                                                                general public.” Id. at 991. Accordingly, the SCA
                                                                applies to them. Further, to the extent private
Once the doctor submits the registration form the forum
                                                                messages are unopened, MySpace and Facebook
administrator, Mrs. Faye Barlow, is notified. Mrs.
                                                                operate as “ECS providers and the messages are in
Barlow reviews the information and either approves or
                                                                electronic storage because they fall within the
denies the request. Upon approval of the new member
                                                                definition of ‘temporary, intermediate storage’
request, the username and password are activated for the
                                                                under § 2510(17)(A).” Id. at 987.
new member’s exclusive personal use.
                                                              • The SCA applies to wall postings on Facebook and
Discussion                                                      to MySpace provided the user’s sites are
                                                                “configured to be private.” Id. at 981, 991 (internal
To render an opinion on the applicability of Dr.                citation omitted).
Barlow’s Neuro Metabolic Group forum to existing
statutes and case law. I reviewed the courts’ opinions in     • Once wall postings are made, they are held for
Crispin v. Christian Audigier, Inc., 717 F. Supp. 2d 965        backup purposes “as defined in the statute.”
          Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 6 of 13 PageID #: 2828
                                                                                                                             Page 6 of 13
                                       Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

       Analogizing to electronic bulletin board services1,                    Ehling v. Monmouth-Ocean Hosp. Serv. Corp.
       the court held that “the passive action of failing to
                                                                          Kenneth Coghlan’s Legal Analysis
       delete a BBS post, which is in all material ways
                                                                          In Ehling v. Monmouth-Ocean Hosp. Serv. Corp., the
       analogous to a Facebook wall posting or a MySpace
                                                                          plaintiff Ehling was suspended from the hospital where
       comment, also results in that post being stored for
                                                                          she worked after her Facebook wall posts were made
       backup purposes.” Id. at 989.
                                                                          known to management who felt that her posts put
    Ted Scott’s Expert Opinion                                            patient safety was at risk. 961 F. Supp. 2d 659, 661-63
The Crispin Court’s interpretation of the SCA clearly                     (D.N.J. 2013). She was disciplined, which caused her to
relates to the state of the private messages and non-                     sue the hospital for, among other things, violating her
public message board postings on the Neuro Metabolic                      rights under the SCA. Id. at 665.
Group forum which are electronically stored in a                          The defendants moved to summarily dismiss the claim.
database for backup purposes.                                             Although the court ultimately found that an exception
                                                                          applied in the pending case, the court first found that
Furthermore, the Court found in Crispin that, “With                       non-public Facebook wall posts are covered by the
respect to webmail and private messaging, the court is                    SCA.
satisfied that those forms of communications media are
inherently private such that stored messages are not                      The court thoroughly examined, and explained,
readily accessible to the general public.” Likewise, my                   Facebook privacy options, wall postings, and private
analysis confirms that the private messages and non-                      messaging. Id. at 662-63. It also reviewed the legislative
public message board postings stored on the Neuro                         and case-law history of the SCA. Id. at 666-67. Based
Metabolic Group forum are inaccessible to the general                     upon its review, the court found the following.
public as they are password protected and clearly
intended for members of a private special interest group.                 1. Facebook wall posts are electronic
                                                                             communications. Since users transmit text and
                                                                             images and videos and such from their personal
Just as Facebook stores the wall posts of its users, Dr.
                                                                             computers and phones to Facebook’s servers where
Barlow’s phpBB forum stores the message boards posts                         they are stored, wall postings are electronic
of its users. For example, in the event of a system                          communications under the SCA. Id. at 667.
outage the posts on Facebook and the Neuro Metabolic
Forum having been preserved for backup purposes are                       2. Facebook is an “electronic communication
accessible again once the respective system returns to                       service provider.” Since Facebook enables its users
normal operations.                                                           to send and receive electronic communications,
                                                                             including private messages and Facebook wall
In short, in light of Mr. Coghlan’s analysis of Crispin,                     posts, Facebook is an electronic communication
private electronic bulletin boards like the Neuro                            service provider. Id.
Metabolic Group forum are afforded the protection of                      3. Facebook wall posts are in electronic storage.
the SCA, which like Facebook, store private messages                         The court held that Facebook stores electronic
and non-public message board postings for backup                             communications for backup purposes. Id. at 667-68.
purposes since content inaccessible to the general public                       When new posts are added, Facebook archives older
is considered private or non-public.                                            posts on separate pages that are accessible, but not
                                                                                displayed. Crispin, 717 F. Supp. 2d at 990 n.51 ("As
                                                                                more and more wall postings or comments are added . . .
                                                                                earlier wall postings . . . [are] eventually archived to
                                                                                separate pages."). Because Facebook saves and archives
                                                                                wall posts indefinitely, the Court finds that wall posts
1
  Likening Facebook and MySpace to the electronic bulletin boards               are stored for backup purposes. See id. at 989 n.50
of an earlier generation (and which Ted Scott describes earlier in this       Id. The court cited approvingly the Crispin Court’s
report), the court reviewed the SCA’s legislative history and
“voluminous case law” to conclude that the consensus is that the              finding that one reason for a user to leave a post on
SCA applies to private electronic bulletin boards. 717 F.Supp.2d at           is for backup storage. Id. (citing Crispin, 717 F.
977-981. It found “relevant, if not controlling, the authority                Supp. 2d at 990 n.51).
regarding private electronic bulletin board services (‘BBS’).” Id. at
980.
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 7 of 13 PageID #: 2829
                                                                                                         Page 7 of 13
                                Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.

4. Facebook wall posts configured to be private                      contents of the forum are secured by passwords
   “are, by definition, not accessible to the general                and message board postings and private
   public.” The court held that so long as the                       messages are not publicly accessible.
   Facebook users make their wall posts inaccessible to
   the general public, they are “‘configured to be           The following section illustrates the similarities between
   private’ for purposes of the SCA.” 961 F. Supp. 2d        the Neuro Metabolic Group forum and Facebook. In
   at 668-69. The court noted that the number of other       order to create a Facebook wall post a user uses a
   users granted permission to access the wall page is       computer, mobile or some other Internet-connected
   irrelevant as long as the public-at-large is excluded.    device to transmit words, pictures or other data to the
   “‘Indeed, basing a rule on the number of users who        servers maintained by Facebook where it is stored for,
   can access information would result in arbitrary          among other purposes, backup purposes. The most
   line-drawing’ and would be legally unworkable.” Id.       recent post is typically found at the top of the wall with
   (citing Crispin, 717 F. Supp. 2d at 990).                 older posts advancing further down the page as new
                                                             posts are added. In this way, older posts are still
Based on the four findings identified immediately            accessible but not displayed to the user without scrolling
above, then, and the fact that plaintiff Ehling “chose       further down the page.
privacy settings that limited access to her Facebook wall
to only her Facebook friends,” the court found that her      A similar method of displaying the posts is used by
Facebook wall posts were covered by the SCA. 961 F.          phpBB as found in Dr. Barlow’s Neuro Metabolic
Supp. 2d at 669.                                             Group forum. Instead of maintaining the most recent
                                                             post as the top of the screen, the original post is shown
Ted Scott’s Expert Opinion                                   at the top and responses to the post follow
The four criteria assessed by the court in Ehling directly   chronologically down the page. For example, Dr.
correlate to and have bearing on this matter and Dr.         Barlow created the post shown in Figure 8 on January
Johnson’s actions in light of the Stored Communications      22, 2014 at 2:17 PM providing links to his 2014 Level1
Act. More particularly:                                      Seminar videos.

                                                             Figure 8 – phpBB Multi-Page Post
    1. The Neuro Metabolic Group forum’s private
       messages and message board postings are
       electronic communications in that users
       transmit words, pictures, video or other data to
       the server hosting the forum.

    2. The Neuro Metabolic Group forum is an
       “electronic communications service
       provider.” The forum enables its users to send
       and receive communications electronically over
       the Internet.

    3. The Neuro Metabolic Group forum’s private
       messages and message board postings are in
       electronic storage. Just like Facebook, the
       forum’s content is stored in an electronic
       database which is stored on a server. And as
       new postings are added to the forum they are
       eventually archived onto separate pages as
       Facebook does for backup purposes.

    4. The Neuro Metabolic Group forum and its
       content are configured to be private. The
      Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 8 of 13 PageID #: 2830
                                                                                                         Page 8 of 13
                                Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.


Below (Figure 9) is an enlarged view of the area of the      In Ehling, the court found that wall posts are stored for
screen depicted on the preceding page that has been          backup purposes because Facebook archives wall posts
circled for emphasis.                                        indefinitely as does the Neuro Metabolic Group forum.

Figure 9 – Archived Page Indicator                           Conclusion

                                                             In conclusion, it is clear that Dr. Johnson is not a
                                                             member of the Neuro Metabolic Group forum. He
                                                             breached the forum’s security by hijacking the
                                                             credentials of users on his own forum to make
                                                             unauthorized entry to Dr. Barlow’s forum and accessed
                                                             private electronic communications. According to the
                                                             legislative history noted in Senate Report 99-541, the
                                                             Stored Communications Act “addresses the growing
                                                             problem of unauthorized persons deliberately gaining
                                                             access to, and sometimes tampering with, electronic or
                                                             wire communications that are not intended to be
                                                             available to the public.” The SCA directly applies to this
This area of the page shows there were 18 responses to       matter as:
Dr. Barlow’s initial post (19 total posts) and that these
posts exceeded one page and the remainder (the most           • The Neuro Metabolic Group meets the criteria of an
recent posts in the discussion) are found archived on the       electronic communications service (ECS), providing
second page. By clicking on the box corresponding to            users with the ability to send and receive electronic
the second page or the arrow button next to it the user is      communications
presented with the second page of posts as shown in the
redacted Figure 10 below.                                     • Electronic communications (private messages and
                                                                non-public message board postings) are in electronic
Figure 10 – phpBB Second Page                                   storage

                                                              • Electronic communications are stored by the Neuro
                                                                Metabolic Group forum for backup purposes

                                                              • Neuro Metabolic Group message board posting are
                                                                not public; a valid username and password are
                                                                required for members to access the content.


                                                               End of Document
     Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 9 of 13 PageID #: 2831
                                                                                        Page 9 of 13
                             Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.


  EXHIBIT – RELEVANT SCREENSHOTS

Figure 1 – Neuro Metabolic Group Login Screen




Figure 2 - Neuro Metabolic SUPER GROUP Login Screen
     Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 10 of 13 PageID #: 2832
                                                                                         Page 10 of 13
                              Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.




Figure 3 – Common Bulletin Board




Figure 4 – Example of Early Bulletin Board System (BBS)
     Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 11 of 13 PageID #: 2833
                                                                                          Page 11 of 13
                               Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.




Figure 5 – Forum Page Footer




Figure 6 – New User Creation- Username & Password




Figure 7 – Example Confirmation Code
     Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 12 of 13 PageID #: 2834
                                                                                          Page 12 of 13
                               Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.


  Figure 8 – phpBB Multi-Page Post




Figure 9 – Archived Page Indicator
    Case: 1:15-cv-00219-GHD-DAS Doc #: 141-30 Filed: 07/15/17 13 of 13 PageID #: 2835
                                                                                           Page 13 of 13
                                Dr. William A. Barlow, D.C. v. Dr. Michael Johnson, D.C.




Figure 10 – phpBB Second Page
